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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

MERCER                                                                  CIVIL ACTION

VERSUS                                                                  19-442-SDD-SDJ

SOONG, ET AL.

                                          RULING

        The Court, after carefully considering the Motion,1 the record, the law applicable to

this action, and the Report and Recommendation2 of United States Magistrate Judge

Scott D. Johnson, dated September 25, 2020, to which no objection has been filed,

hereby approves the Report and Recommendation of the Magistrate Judge and adopts it

as the Court’s opinion herein.

        ACCORDINGLY, the Motion to Dismiss3 is hereby GRANTED and Plaintiff’s

claims against Defendants Soong, Miller, Kent, MacMurdo, Devall, Thurman, and

Hickman are dismissed, without prejudice, for failure of the Plaintiff to serve the

Defendants as required by Federal Rule of Civil Procedure 4(m).

        IT IS FURTHER ORDERED that Plaintiff's claims against Defendants Jacobs, Kim

Doe, Wolf, Toloso, Pearce, Beckham, and Funderburk, are hereby dismissed sua sponte,

without prejudice, for failure of the Plaintiff to serve the Defendants as required by Federal

Rule of Civil Procedure 4(m).

        Signed in Baton Rouge, Louisiana the 19th day of October, 2020.


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                                      CHIEF JUDGE SHELLY D. DICK
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA
1
  Rec. Doc. 60.
2
  Rec. Doc. 70.
3
  Rec. Doc. 60.
